Case 9:19-bk-11573-MB   Doc 803 Filed 02/14/20 Entered 02/14/20 16:07:11   Desc
                         Main Document     Page 1 of 4
Case 9:19-bk-11573-MB   Doc 803 Filed 02/14/20 Entered 02/14/20 16:07:11   Desc
                         Main Document     Page 2 of 4
Case 9:19-bk-11573-MB   Doc 803 Filed 02/14/20 Entered 02/14/20 16:07:11   Desc
                         Main Document     Page 3 of 4
Case 9:19-bk-11573-MB   Doc 803 Filed 02/14/20 Entered 02/14/20 16:07:11   Desc
                         Main Document     Page 4 of 4
